Case 2:15-cv-01105-CAS-PJW Document 30 Filed 07/02/15 Page 1 of 2 Page ID #:423



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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11 BELAVA, LLC, a California Limited              Case No. 2:15-cv-01105-CAS-PJW
    Liability Company,
 12                                                [PROPOSED] ORDER GRANTING
                Plaintiff,                         DISMISSAL OF ENTIRE ACTION
 13
           vs.                                     [RULE 41]
 14
    TNG WORLDWIDE, INC., a Michigan
 15 Corporation, d/b/a THE INDUSTRY
    SOURCE, and d/b/a BEBEAUTIFUL,
 16
                Defendants.
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 18
 19         Based on the Stipulation for Dismissal of the Entire Action by Plaintiff
 20 BELAVA, LLC and Defendant TNG WORLDWIDE, INC., (collectively “the
 21 Parties”), and pursuant to Federal Rule of Civil Procedure 41,
 22         IT IS HEREBY ORDERED that, pursuant to a confidential settlement
 23 agreement entered into by the Parties concerning this matter:
 24         1.    Belava’s first cause of action for Patent Infringement is DISMISSED
 25 with prejudice;
 26         2.    Belava’s second cause of action for Trade Dress Infringement is
 27 DISMISSED without prejudice;
 28 / / /

                      [PROPOSED] ORDER GRANTING DISMISSAL OF
                                   ENTIRE ACTION
Case 2:15-cv-01105-CAS-PJW Document 30 Filed 07/02/15 Page 2 of 2 Page ID #:424



  1        3.   Belava’s third cause of action for Unfair Competition is DISMISSED
  2 without prejudice;
  3        4.   Each party shall bear its own fees and costs.
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  5        IT IS SO ORDERED.
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  7 Date:_July 2, 2015
  8                                             Hon. Christina A. Snyder
                                                United States District Court Judge
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                   [PROPOSED] ORDER GRANTING DISMISSAL OF
                                ENTIRE ACTION
